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                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re:                                                     ) Chapter 11
                                                           )
JRV GROUP USA L.P., a Delaware limited                     ) Case No. 19-11095 (CSS)
partnership,1                                              )
                                                           )
                 Debtor.                                   )

                              CERTIFICATE OF SERVICE RE:


Docket             LIQUIDATION TRUSTEE’S MOTION FOR ENTRY OF AN ORDER
No. 549            (A) FURTHER ENLARGING THE PERIOD WITHIN WHICH THE
                   LIQUIDATION TRUSTEE MAY REMOVE ACTIONS AND (B)
                   GRANTING RELATED RELIEF


         I, Bradford Daniel, state as follows:

         1.      I am over eighteen years of age and I believe the statements contained

herein are true based on my personal knowledge. My business address is c/o BMC

Group, Inc., 3732 West 120th Street, Hawthorne, California 90250.

         2.      On August 6, 2021, at the direction of Womble Bond Dickinson (US)

LLP, Counsel to the Liquidation Trustee, copies of the document listed above were

served on the parties listed in the attached Exhibit A via the modes of service indicated

thereon:



  Exhibit A          The Core/2002 Parties referenced in Service List Nos. 75232 and 75233.


         I declare under penalty of perjury under the laws of the State of California that the

foregoing is true and correct.

         Executed on the 9th day of August, 2021 at New York, New York.

                                                                /s/ Bradford Daniel
                                                              Bradford Daniel
1 The Debtor’s last four digits of its taxpayer identification number are (5218). The headquarters and
  service address for the above-captioned Debtor is c/o Sherwood Partners, Inc., 3945 Freedom Circle,
  Suite 560, Santa Clara, CA 95054.

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JRVGroup
Total number of parties: 80



Exhibit A - JRV Group
Svc Lst Name and Address of Served Party                                                               Mode of Service

 75232   ALVAREZ & MARSAL CANADA INC., ALAN J. HUTCHENS, AHUTCHENS@ALVAREZANDMARSAL.COM                E-mail

 75233   ALVAREZ & MARSAL CANADA INC., ALAN J. HUTCHENS, 200 BAY STREET, SUITE 2900, ROYAL BANK        US Mail (1st Class)
         SOUTH TOWER, TORONTO, ON, M5J 2J1 CANADA
 75233   ALVAREZ & MARSAL CANADA INC., DOUG MCINTOSH, 200 BAY STREET, SUITE 2900, ROYAL BANK SOUTH US Mail (1st Class)
         TOWER, TORONTO, ON, M5J 2J1 CANADA
 75232   BARNES & THORNBURG LLP, TIMO REHBOCK, (RE: DEBTOR & DEBTOR IN POSSESSION),                    E-mail
         TIMO.REHBOCK@BTLAW.COM
 75233   BARNES & THORNBURG LLP, TIMO REHBOCK, (RE: DEBTOR & DEBTOR IN POSSESSION), ONE NORTH          US Mail (1st Class)
         WACKER DRIVE, SUITE 4400, CHICAGO, IL, 60606
 75233   BEAVER MOTORS, INC., 19689 RT 522, PO BOX 126, BEAVER SPRINGS, PA, 17812                      US Mail (1st Class)

 75233   BLAKE, CASSELS & GRAYDON LLP, PAMELA L J HUFF, COMMERCE COURT WEST, 199 BAY STREET,           US Mail (1st Class)
         SUITE 4600, TORONTO, ON, M5L 1A9 CANADA
 75233   BLANEY MCMURTRY LLP, JOHN C WOLF, BARRISTERS & SOLICITORS, 2 QUEEN STREET EAST, SUITE         US Mail (1st Class)
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 75232   BMC GROUP, INC, ATTN: T FEIL, SORDAZ.BMCGROUP@ECFALERTS.COM                                   E-mail

 75233   BMC GROUP, INC, ATTN: T FEIL, 3732 W. 120TH STREET, HAWTHORNE, CA, 90250                      US Mail (1st Class)

 75233   CA DEPARTMENT OF MOTOR VEHICLES, INSPECTOR OFFICE, 473 E. CARNEGIE DR., SUITE 150, SAN        US Mail (1st Class)
         BERNARDINO, CA, 92408
 75233   CA DEPARTMENT OF MOTOR VEHICLES, DIANNE STRANGE, SUP. INSPECTOR, INSPECTOR OFFICE             US Mail (1st Class)
         REGION 4, 1365 N. GRAND AVE., STE 102, COVINA, CA, 91724
 75233   CA STATE BOARD OF EQUALIZATION, SPECIAL OPERATIONS BANKRUPTCY TEAM, MIC: 74, PO BOX           US Mail (1st Class)
         942879, SACRAMENTO, CA, 94279-0074
 75233   CALIFORNIA DEPARTMENT OF JUSTICE, XAVIER BECERRA, ESQUIRE, 1300 I STREET, SUITE 1740,         US Mail (1st Class)
         SACRAMENTO, CA, 95814
 75233   CALIFORNIA STATE TREASURER, 915 CAPITOL MALL, SUITE 11 0, SACRAMENTO, CA, 95814               US Mail (1st Class)

 75233   CASSELS BROCK & BLACKWELL LLP, JOSEPH J BELLISSIMO, 2100 SCOTIA PLAZA, 40 KING ST WEST,       US Mail (1st Class)
         TORONTO, ON, M5H 3C2 CANADA
 75232   CHRIMA METAL FABRICATION, MS. DENISE CHASE, DENISE@CHRIMA.CA                                  E-mail

 75233   CHRIMA METAL FABRICATION, MS. DENISE CHASE, 559 DOURO STREET, STRATFORD, ON, N5A 0E3          US Mail (1st Class)
         CANADA
 75233   CITY OF ONTARIO, 303 EAST B STREET, ONTARIO, CA, 91764                                        US Mail (1st Class)

 75233   CITY OF RIVERSIDE, 3900 MAIN ST, RIVERSIDE, CA, 92522                                         US Mail (1st Class)

 75233   COOKSEY TOOLEN GAGE DUFFY WOOG, KIM P GAGE, 535 ANTON BOULEVARD, SUITE 1000, COSTA            US Mail (1st Class)
         MESA, CA, 92626-1977
 75232   COOKSEY, TOOLEN, GAGE, DUFFY & WOOG, KIM GAGE, (RE: MERCEDES-BENZ FIN. SERVICES USA LLC), E-mail
         KGAGE@COOKSEYLAW.COM
 75233   COOKSEY, TOOLEN, GAGE, DUFFY & WOOG, KIM GAGE, (RE: MERCEDES-BENZ FIN. SERVICES USA LLC), US Mail (1st Class)
         535 ANTON BLVD, 10TH FL, STE 100, COSTA MESA, CA, 92626
 75233   CORNER FLAG LLC, 251 LITTLE FALLS DRIVE, WILMINGTON, DE, 19808                                US Mail (1st Class)

 75233   CORRE PARTNERS MANAGEMENT LLC, STEPHEN LAM, 12 EAST 49TH STREET, 40TH FLOOR, NEW YORK, US Mail (1st Class)
         NY, 10017
 75232   CRAVATH, SWAINE & MOORE LLP, G.ZOBITZ/A.GERTEN, (RE: CORNER FLAG LLC),                        E-mail
         JZOBITZ@CRAVATH.COM
 75232   CRAVATH, SWAINE & MOORE LLP, G.ZOBITZ/A.GERTEN, (RE: CORNER FLAG LLC),                        E-mail
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 JRVGroup

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Exhibit A - JRV Group
Svc Lst Name and Address of Served Party                                                              Mode of Service

 75233   CRAVATH, SWAINE & MOORE LLP, GEORGE E ZOBITZ AND PAUL L SANDLER, (RE: DIP LENDER &           US Mail (1st Class)
         PREPETITION LENDERS), 825 EIGHTH AVENUE, NEW YORK, NY, 10019
 75232   DELAWARE DEPARTMENT OF JUSTICE, KATHY JENNINGS, ESQUIRE,                                     E-mail
         ATTORNEY.GENERAL@DELAWARE.GOV
 75233   DELAWARE DEPARTMENT OF JUSTICE, KATHY JENNINGS, ESQUIRE, CARVEL STATE OFFICE BLDG, 6TH       US Mail (1st Class)
         FL, 820 N. FRENCH STREET, WILMINGTON, DE, 19801
 75233   DELAWARE DIVISION OF REVENUE, CHRISTINA ROJAS, CARVEL STATE OFFICE BLDG, 8TH FL, 820 N.      US Mail (1st Class)
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 75232   DELAWARE SECRETARY OF TREASURY, STATETREASURER@STATE.DE.US                                   E-mail

 75233   DELAWARE SECRETARY OF TREASURY, 820 SILVER LAKE BLVD, SUITE 100, DOVER, DE, 19904            US Mail (1st Class)

 75233   DENTONS CANADA LLP, ELAINE GRAY, 77 KING STREET WEST, SUITE 400, TORONTO-DOMINION            US Mail (1st Class)
         CENTRE, TORONTO, ON, M5K 0A1 CANADA
 75233   DIP LENDER AND PREPETITION LENDERS, ATTN: MARK GOTTLIEB, C/O BXV PARTNERS LLC, 21 LITTLE     US Mail (1st Class)
         FALLS DRIVE, WILMINGTON, DE, 19808
 75233   DS LAWYERS CANADA LLP, JUSTIN R FOGARTY, 8 KING STREET EAST, SUITE 1804, TORONTO, ON, M5C    US Mail (1st Class)
         1B5 CANADA
 75233   ERWIN HYMER GROUP HOLDING USA L P, 55 WEST MONROE STREET, SUITE 2900, CHICAGO, IL, 60603     US Mail (1st Class)

 75233   ERWIN HYMER GROUP USA, L P, 55 WEST MONROE STREET, SUITE 2900, CHICAGO, IL, 60603            US Mail (1st Class)

 75233   FINANCIAL SERVICES COMM. OF ONTARIO, ANNA VANI, 5160 YONGE STREET, 16TH FLOOR, TORONTO,      US Mail (1st Class)
         ON, M2N 6L9 CANADA
 75233   FOGLER, RUBINOFF LLP, VERN W DARAE, TORONTO-DOMINION CNTR, 77 KING ST W, SUITE 3000, PO      US Mail (1st Class)
         BOX 95, TORONTO, ON, M5K 1G8 CANADA
 75233   FRANCHISE TAX BOARD, SECRETARY OF STATE - CA, BANKRUPTCY, BE MS A345, PO BOX 2952,           US Mail (1st Class)
         SACRAMENTO, CA, 95812-2952
 75233   GOWLING WLG (CANADA) LLP, THOMAS GERTNER, BARRISTERS & SOLICITORS; STE 1600, 1 1ST           US Mail (1st Class)
         CANADIAN PL, 100 KING ST W, TORONTO, ON, M5X 1G5 CANADA
 75233   INTERNAL REVENUE SERVICE, CENTRALIZED INSOLVENCY OPS, 2970 MARKET ST MS 5-Q30133 BOX         US Mail (1st Class)
         7346, PHILADELPHIA, PA, 19101
 75233   JRV GROUP USA L P, ATTN: ANDREW DE CAMARA, CRO, (RE: DEBTOR), 1945 BURGUNDY PLACE,           US Mail (1st Class)
         ONTARIO, CA, 91761
 75233   JRV GROUP USA L.P., C/O SHERWOOD PARTNERS, INC., 3945 FREEDOM CIRCLE, STE 560, SANTA         US Mail (1st Class)
         CLARA, CA, 95054
 75233   KOHNER, MANN & KAILAS, S C, SANUEL WISOTSKEY, 4650 N PORT WASHINGTON RD, WASHINGTON          US Mail (1st Class)
         BLDG , 2ND FLOOR, MILWAUKEE, WI, 53212-1059
 75233   MILLER THOMSON LLP, GREG AZEFF, SCOTIA PLZ, 40 KING ST W., STE 5800, PO BOX 1011, TORONTO,   US Mail (1st Class)
         ON, M5H 3S1 CANADA
 75233   NORTON ROSE FULBRIGHT CANADA LLP, VIRGINIE GAUTHIER, ROYAL BANK PLAZA, SOUTH TOWER, 200 US Mail (1st Class)
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         NW, WASHINGTON, DC, 20220
 75233   OFFICE OF THE CHIEF COUNSEL, PENSION BENEFIT GUARANTY CORP, 1200 K STREET, NW,               US Mail (1st Class)
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 75232   OFFICE OF THE US ATTORNEY GENERAL, WILLIAM P. BARR, ESQUIRE, ASKDOJ@USDOJ.GOV                E-mail

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 75232   OFFICE OFTHE UNITED STATES TRUSTEE, LINDA J. CASEY, ESQUIRE, LINDA.CASEY@USDOJ.GOV           E-mail

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 75232   PACHULSKISTANGZIEHLJONES LLP, JEFFREY DULBERG;ROBERT SAUNDERS,                               E-mail
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Svc Lst Name and Address of Served Party                                                                Mode of Service

 75232   PACHULSKISTANGZIEHLJONES LLP, JEFFREY DULBERG;ROBERT SAUNDERS,                                 E-mail
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         BLVD 13TH FL, LOS ANGELES, CA, 90067
 75233   RICHARDS, LAYTON & FINGER P A, PAUL N HEATH AND ZACHARY I SHAPIRO, (RE: DIP LENDER &           US Mail (1st Class)
         PREPETITION LENDERS), 920 NORTH KING STREET, WILMINGTON, DE, 19801
 75232   RICHARDS, LAYTON & FINGER, P.A., PAUL N. HEATH & ZACHARY I. SHAPIRO, (RE: CORNER FLAG LLC),    E-mail
         HEATH@RLF.COM
 75232   RICHARDS, LAYTON & FINGER, P.A., PAUL N. HEATH & ZACHARY I. SHAPIRO, (RE: CORNER FLAG LLC),    E-mail
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 75233   ROCK CREEK ADVISORS LLC, 800 CONNECTICUT AVE. NW, SUITE 800, WASHINGTON, DC, 20006             US Mail (1st Class)

 75233   SAN BERNARDINO CTY FIRE PROTECT DIS, 157 W. FIFTH STREET SECOND FLOOR, SAN BERNARDINO,         US Mail (1st Class)
         CA, 92415
 75233   SAN BERNARDINO CTY TAX COLLECTOR, 268 W. HOSPITALITY LANE, FIRST FL, SAN BERNARDINO, CA,       US Mail (1st Class)
         92415-0360
 75233   SECURITIEDS & EXCHANGE COMMISSION, SHARON BINGER, REGIONAL DIRECTOR, PHILADELPHIA              US Mail (1st Class)
         REGIONAL OFFICE, 1 PENN CTR STE 520 1617 JFK BLVD, PHILADELPHIA, PA, 191 03
 75233   SECURITIES & EXCHANGE COMMISSION, OFFICE OF GENERAL COUNSEL, 100 F STREET, NE,                 US Mail (1st Class)
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 75233   SECURITIES & EXCHANGE COMMISSION, ANDREW CALAMARI, REGIONAL DIRECTOR, NEW YORK                 US Mail (1st Class)
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 75233   SECURITIES AND EXCHANGE COMM - CA, ATTN: BANKRUPTCY COUNSEL, 444 SOUTH FLOWER STREET,          US Mail (1st Class)
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 75233   SHERWOOD PARTNERS, INC., ATTN: MICHAEL A MAIDY, 3945 FREEDOM CIRCLE, SUITE 560, SANTA          US Mail (1st Class)
         CLARA, CA, 95054
 75233   SOUTH COAST AQMD, 21865 COPLEY DRIVE, DIAMOND BAR, CA, 91765                                   US Mail (1st Class)

 75232   STATE OF DELAWARE, DIV OF CORPORATIONS -FRANCHISE TAX, DOSDOC_BANKRUPTCY@STATE.DE.US E-mail
 75233   STATE OF DELAWARE, DIV OF CORPORATIONS -FRANCHISE TAX, JOHNTOWNSEND BLDG, STE4, 401 FED US Mail (1st Class)
         ST, PO BOX 898 (ZIP 19903), DOVER, DE, 19901
 75233   TCF INVENTORY FINANCE INC., PETER SCHMIDT, SCHAUMBURG CORPORATE CENTER, 1475 E                 US Mail (1st Class)
         WOODFIELD ROAD, SUITE 1100, SCHAUMBURG, IL, 60173
 75233   TORYS LLP, ADAM SLAVENS, 79 WELLINGTON ST. W , SUITE 3000, BOX 270, TD CENTRE, TORONTO, ON,    US Mail (1st Class)
         M5K 1N2 CANADA
 75232   UNITED STATES ATTORNEY`S OFFICE, DAVID C. WEISS, USADE.ECFBANKRUPTCY@USDOJ.GOV                 E-mail

 75233   WELLS FARGO, RICK KANABAR, 1290 CENTRAL PKWY W, SUITE 1100, MISSISSAUGA, ON, L5C 4R3           US Mail (1st Class)
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 75232   WOMBLE BOND DICKINSON (US) LLP, M. WARD; E. JOHNSON; N. VERNA, (RE: OFFICIAL COM OF            E-mail
         UNSECURED CREDITORS), MATTHEW.WARD@WBD-US.COM
 75232   WOMBLE BOND DICKINSON (US) LLP, M. WARD; E. JOHNSON; N. VERNA, (RE: OFFICIAL COM OF            E-mail
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Subtotal for this group: 80




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